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                                                              JS-6
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                             UNITED STATES DISTRICT COURT
   14                       CENTRAL DISTRICT OF CALIFORNIA
   15                              EASTERN DIVISION
   16
        FLORENCIA VERDUGO RENTERIA, )
   17                Plaintiff,      ) Case No.: 5:20-cv-02322-DMG-ADS
   18                                )
              vs.                    ) JUDGMENT
   19                                )
   20   ANDREW SAUL, Commissioner of )
        Social Security,             )
   21
                                     )
   22                Defendant.      )
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                                     )
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    1         The Court having approved the parties’ stipulation to remand this case
    2   pursuant to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent
    3   with that stipulation and for entry of judgment for Plaintiff, judgment is hereby
    4   entered for Plaintiff.
    5
    6   DATED:      4/23/21            /s/ Autumn D. Spaeth
    7                             HONORABLE JUDGE AUTUMN D. SPAETH
                                  UNITED STATES MAGISTRATE JUDGE
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